
PREGERSON, Circuit Judge,
amended partial dissent:
In 1974, Congress established the not-for-profit Legal Services Corporation (“LSC”) for the purpose of distributing grants to enable qualifying legal service organizations to provide free legal assistance to the poor in non-criminal proceedings. 42 U.S.C. §§ 2996-2996 l. In the years since, Congress has attached a number of restrictions to the ways in which recipients of LSC grants can provide legal services. See, e.g., § 2996f(b). In 1996, Congress attached another set of restrictions to the LSC grants. See Omnibus Consolidated Rescissions and Appropriations Act of 1996, Pub.L. No. 104-134, § 504, 110 Stat. 1321, 1321-53-56 (1996) (the “1996 Act”), reenacted in the Omnibus Consolidated Rescissions and Appropriations Act of 1997, Pub.L. 104-208, § 502, 110 Stat. 3009 (1997).
In this case, Plaintiffs mounted a facial challenge to three of the 1996 LSC Restrictions. Specifically, Plaintiffs challenged the LSC Restrictions on: (1) “attempt[s] to influence” legislation and/or administrative rule-making processes; (2) initiation of, and participation in, class action lawsuits; and (3) soliciting clients. Plaintiffs argued that these three Restrictions violate their First Amendment rights to free speech and association because the Restrictions distort Plaintiffs’ ability to provide legal services to their clients.
The district court rejected Plaintiffs’ distortion argument. In so doing, the district court erred. First, determining whether the three Restrictions distort legal services attorneys’ ability to effectively represent their clients is key to determining whether the Restrictions are unreasonable in light of the purpose of the LSC grants, and, thus, violate the First Amendment. Second, the three Restrictions do distort the legal system by imposing serious and fundamental limits on legal services attorneys’ ability to effectively represent their clients such that the Restrictions are unreasonable in light of the purpose of the LSC grants.
I. Distortion Renders the Restrictions Unreasonable
A. Velazquez III
In Velazquez III the Supreme Court held that the LSC “suits-for-benefits” re*1100striction, which prohibited legal services attorneys from challenging existing welfare laws, was unconstitutional. Legal Servs. Corp. v. Velazquez (Velazquez III), 531 U.S. 533, 536, 121 S.Ct. 1043, 149 L.Ed.2d 63 (2001). As the majority in this case observes, in Velazquez III, the Supreme Court “did not establish a new First Amendment test,” but rather analyzed the suits-for-benefits restriction “through the lens of the Court’s limited public forum cases.” See Majority Opinion at 1094. Under the limited public forum analysis, a restriction on speech must be “reasonable in light of the purpose served by the forum” and cannot “discriminate against speech on the basis of its viewpoint.” Rosenberger v. Rector &amp; Visitors of the Univ. of Va., 515 U.S. 819, 829, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995) (internal quotation marks omitted). Thus, whether a LSC restriction violates the First Amendment depends on whether the restriction is (1) reasonable in light of the purpose of the LSC grants (to provide free legal services to the poor), and (2) viewpoint neutral.
Applying the limited public forum analysis, the Velazquez III Court held that the suits-for-benefits restriction was unconstitutional. Id. at 548, 121 S.Ct. 1043. The reasons identified by the Court for reaching this conclusion included the Court’s determinations that (1) the suits-for-benefits restriction “distorts the legal system by altering the traditional role of the attorneys ....,” and that (2) Congress may not subsidize legal services in a way that seriously and fundamentally restricts the advocacy of attorneys. Id. at 544, 121 S.Ct. 1043.
The majority contends that Velazquez III was decided on viewpoint discrimination grounds. See Majority Opinion at 1094-95. This reading of Velazquez III is mistaken. Instead, Velazquez III struck down the suits-for-benefits restriction on reasonableness grounds. That Velazquez III was decided on reasonableness grounds is illustrated by two aspects of the opinion. First, the Velazquez III majority repeatedly discussed the suits-for-benefits restriction in the context of the purpose of the LSC grants.1 This is significant because analysis of the LSC grants’ purpose goes to whether a restriction is reasonable, not to whether it discriminates on the basis of viewpoint. Second, the Velazquez III majority never stated that it was deciding the case on viewpoint discrimination grounds and did not dispute the dissent’s contention that the majority did not challenge whether the suits-for-benefits restriction was viewpoint neutral. See Velazquez III, 531 U.S. at 549, 121 S.Ct. 1043 (Scalia, J. dissenting) (noting that the majority did not claim the suits-for-benefits restriction “discriminates on the basis of view-point.”). This is significant because if the Velazquez III majority intended to overturn the suits-for-benefits restriction on viewpoint grounds, one would expect the majority to respond to the dissent’s assertion to the contrary.
Thus, the Velazquez III majority’s discussion of how the suits-for-benefits restriction “distorts the legal system” can properly be understood to refer to the *1101“reasonableness” of the restriction in light of the purpose of the LSC grants rather than whether the restriction was viewpoint neutral. Because the suits-for-benefits restriction “distort[ed] the legal system by altering the traditional role of ... attorneys,” it was unreasonable in light of the purpose of the LSC grants. And, because the suits-for-benefits restriction was unreasonable in light of the purpose of the LSC grants, it violated the First Amendment under the limited public forum analysis.
B. Plaintiffs’ Distortion Arguments Were Not Properly Considered
Before the district court, Plaintiffs argued that the three Restrictions violate the First Amendment because they distort legal services attorneys’ ability to effectively represent their clients. Plaintiffs, however, did not frame their distortion arguments as reasonableness arguments within the limited public forum analysis. Nonetheless, whether the three Restrictions distort legal services attorneys’ ability to effectively represent their clients is key to determining whether the Restrictions are unreasonable within the limited public forum analysis. For this reason, the district court should have considered Plaintiffs’ distortion arguments as part of the reasonableness inquiry.2
The district court, however, did not address the question whether the three Restrictions distort the process of legal representation such that the Restrictions are unreasonable in light of the purpose of the LSC grants. Because of this failure, the district court incorrectly analyzed whether the three Restrictions violate the First Amendment.
II. The Restrictions Distort Legal Service Attorneys’ Ability to Effectively Represent their Clients
The district court’s failure to properly consider whether the three Restrictions distort legal services attorneys’ ability to effectively represent their clients was a critical error because the Restrictions do distort legal services attorneys’ ability to effectively represent their clients such that the Restrictions are unreasonable in light of the purpose of the LSC grants.
To effectively represent their clients, attorneys may need to use any number of legal tools. Some of the tools an attorney may use include: making a phone call, writing a letter, trying to negotiate a settlement, seeking alternative dispute *1102resolution, filing a lawsuit seeking an injunction, filing a lawsuit seeking damages, filing a lawsuit challenging the validity of the underlying law, or seeking to change the underlying law through lobbying. For example, where a client’s claim has a particularly small monetary value, an attorney might seek to combine that client’s claim with similar claims of others through joinder or through a class action.
Landlord-tenant disputes further illustrate how attorneys might need to use a variety of legal tools to effectively represent a poor client. Landlord-tenant disputes often involve very small sums of money, but carry huge quality of life implications. A poor tenant, for example, who fails to get her landlord to eliminate a lead paint hazard in an apartment might face the untenable choice of risking harm to the health of her children by staying or upending her family’s lives and incurring substantial costs by moving out. Where such a tenant seeks legal help, she could have a winning legal claim that is nonetheless not a viable solution to her lead paint problem because the potential damage award is too small to motivate the landlord to fix the problem. By combining that tenant’s claim with other tenants’ similar claims, however, an attorney could increase the potential cost of losing to an amount large enough to motivate the recalcitrant landlord to remove the lead paint hazard. But under the Solicitation Restriction at issue in this case, legal services attorneys are prohibited from seeking other clients with the same problem. Consequently, in this hypothetical, were a legal services attorney to take on the original tenant’s case, that attorney would not be in a position to effectively represent his client.
Similarly, a client may have a wage and hour claim of such a small monetary value that even if she were to prevail, a large and obstinate employer would not be persuaded to change the underlying practice — thus subjecting the client to a high probability of future harm. In such a case, a class action might be the only way to root out the underlying practice. Alternatively, a client might be suffering an injury that falls just outside existing wage and hour law. In such a ease, lobbying to change the underlying wage and hour law might be the client’s only hope of redress. Under the Restrictions, however, a legal services attorney cannot pursue a class action or assist a client in lobbying to change an existing law. Consequently, in both these wage and hour hypotheticals, a legal services attorney would not be able to employ the legal tools necessary to most effectively represent his client.
This same analysis applies to many of the real life problems facing the poor. By depriving legal services attorneys of their ability to pursue class actions, solicit other clients with similar problems, or lobby to change a law, the three Restrictions at issue often prevent legal services attorneys from employing the legal tools that would most effectively redress a client’s problems. The Restrictions thus distort the legal system because they seriously and fundamentally limit legal services attorneys’ ability to effectively represent their clients by curtailing the legal tools that legal services attorneys can employ to advocate on their clients’ behalf.
III. Conclusion
It is tough for the poor to find good lawyers. The purpose of LSC grants is to help ameliorate that social problem by providing funds for legal assistance to people who cannot otherwise pay for a lawyer. Even so, there is still a scarcity of lawyers serving the poor. Upholding these three Restrictions severely constrains those dedicated lawyers who choose to serve the poor by seriously and fundamentally limiting their ability to effectively represent *1103their clients. The three Restrictions thus distort a legal system designed to “do equal right to the poor and to the rich” (28 U.S.C. § 453, Oaths of justices and judges) so that all Americans will be the beneficiaries of a system of government based on equal justice under the law. Under the limited public forum analysis, because these three Restrictions distort legal services attorneys ability to effectively represent their clients, they are thus unreasonable in light of the purpose of the LSC grants and therefore violate the First Amendment. For this reason, I would reverse the district court as to Plaintiffs’ facial challenge to the three Restrictions.

. See, e.g., 531 U.S. at 536, 121 S.Ct. 1043 (noting the purpose of LSC grants is to fund legal representation for the indigent in noncriminal matters); Id. at 537, 121 S.Ct. 1043 (explaining that the restriction permitted the attorney-grantees to represent "indigent clients seeking welfare benefits” but, prohibited the attorney-grantees from challenging "existing welfare law”); Id. at 543, 121 S.Ct. 1043 (noting that review of the restriction is informed by whether the restriction is necessary to the program’s purpose); Id. at 544, 121 S.Ct. 1043 (noting that the government seeks to facilitate suits-for-benefits but distorts the judiciary’s ability to resolve the claims).


. The majority concludes that "Plaintiffs do not contend that the Restrictions are ‘unreasonable' as the term is used in the Court's limited public forum cases.” See Majority Opinion at - n. 8. For that reason, the majority does not address Plaintiffs' distortion arguments as part of the reasonableness inquiry. See Id. I believe that Plaintiffs have sufficiently presented this issue for consideration. Plaintiffs argue that under Velazquez III, the three Restrictions violate the First Amendment because they distort legal services attorneys’ ability to effectively represent their clients. See Plaintiffs’ Complaint Para. 79-87 (Docket # 1); Plaintiffs’ Opposition to Defendant LSC’s Motions to Dismiss at 1, BOSS (Docket # 38); Plaintiffs' Opening Brief at 48-53. Thus, Plaintiffs raise the correct constitutional claim, the controlling case, and the critical argument. That the Plaintiffs do not more precisely frame that argument as part of the reasonable inquiry does not prevent this court from so considering it now. Cf. Elder v. Holloway, 510 U.S. 510, 513-516, 114 S.Ct. 1019, 127 L.Ed.2d 344 (1994) (holding that rather than considering only the authority relied on by the district court, which "could occasion appellate affirmation of incorrect legal results,” an appellate court reviewing a qualified immunity judgment should "use its full knowledge of its own and other relevant precedents”) (internal quotation marks omitted); Agyeman v. INS, 296 F.3d 871, 877-78 (9th Cir.2002) (holding that a petitioner sufficiently raised a due process claim in his appeal to the Board of Immigration Appeals even though he did not use the phrase "due process violation”).

